PROB 22 [EDTN51]                                                                                                    DOCKET NUMBER (Tran. Court)
(1/98)                                                                                                              2:12-CR-00098-011
                              TRANSFER OF JURISDICTION
                                                                                                                    DOCKET NUMBER (Rec. Court)



NAME AND ADDRESS OF PROBATIONER/SUPERVISED RELEASEE:                     DISTRICT                                   DIVISION

John Franklin Landers, II                                                Eastern District of Tennessee              Greeneville
                                                                         NAME OF SENTENCING JUDGE

(Eastern District of Virginia)                                           The Honorable J. Ronnie Greer
                                                                         United States District Judge
                                                                         D ATES O F PR O BATIO N /SU PER V ISED     FROM           TO
                                                                         R ELEASE:
                                                                                                                    06/12/2017     06/11/2020

OFFENSE
Possession of Equipment, Chemicals, Products, and Materials Which May Be Used to Manufacture Methamphetamine



PART 1 - ORDER TRANSFERRING JURISDICTION


UNITED STATES DISTRICT COURT FOR THE EASTERN                  DISTRICT OF TENNESSEE
          IT IS HEREBY ORDERED that, pursuant to Title 18 U.S.C. § 3605, the jurisdiction of the probationer or
supervised releasee named above be transferred with the records of the Court to the United States District Court for the
Eastern District of Virginia upon that Court’s order of acceptance of jurisdiction. This Court hereby expressly consents
that the period of probation or supervised release may be changed by the District Court to which this transfer is made
without further inquiry of this Court.*




              8/23/2017
          Date                                                                     Unit
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                                                                                              ates District Judge
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*This sentence may be deleted in the discretion of the transferring Court.

PART 2 - ORDER ACCEPTING JURISDICTION


UNITED STATES DISTRICT COURT FOR THE EASTERN                  DISTRICT OF VIRGINIA
       IT IS HEREBY ORDERED that jurisdiction over the above-named probationer/supervised releasee be accepted
and assumed by this Court from and after the entry of this order.




          Effective Date                                                           United States District Judge




       Case 2:12-cr-00098-JRG Document 633 Filed 08/23/17 Page 1 of 1 PageID #: 2139
